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lN THE UNITED STATES DlSTRlCT COURT f ` ` " /M/ 'J`-\/-
FOR THE WESTERN DlSTRlCT OF TENNESSEE

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UN|TED STATES OF AMER|CA,
Plaintiff,
VS. CR. NO. 05-20096-D

HENRY ANTHONY SHAWN LONG,

\._u-_r\-.»r\_r\._r\_r\_r‘~_¢-_r\_z

Defendant.

 

ORDER ON CHANGE OF PLEA
AND SE`|'|'|NG

 

This cause came to be heard on August 19, 2005, the United States Attorney for this district,
Tim DiScenza, appearing for the Government and the defendant, Henry Anthony Shawn Long, appearing
in person, and with counset, Doris Randie-Ho|t, who represented the defendant

With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and entered
a plea of guilty to Count 1 of the lndictment.

Plea colloquy was held and the Court accepted the guilty plea.

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SENTENC|NG in this case is SET for MONDA¥, NOVEMBER 21, 200 , at 1:30 P.M.
in Courtroom No. 3, on the 9“‘ floor before Judge Bernice B. Dona|d.

Defendant is allowed to remain released on present bond.

ENTERED this the ii day of August. 2005.

    

B NlCE B. DONALD
U TED STATES DlSTRlCT JUD -

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:05-CR-20096 Was distributed by faX, mail, or direct printing on
August 22, 2005 to the parties listed.

 

 

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Honcrable Bernice Donald
US DlSTRlCT COURT

